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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

TEMPLE BAPTIST CHURCH; et al.,            )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )
                                          )                      Case No. 4:20-cv-64-DMB-JMV
CITY OF GREENVILLE, et al.,               )
                                          )
            Defendants.                   )
__________________________________________)

 THE UNITED STATES’ STATEMENT OF INTEREST IN SUPPORT OF PLAINTIFFS

          The United States of America respectfully files this Statement of Interest pursuant to

28 U.S.C. § 517, which authorizes the Attorney General “to attend to the interests of the United

States in a suit pending in a court of the United States.” The United States also enforces

34 U.S.C. § 12601, which allows the United States to bring suit when law enforcement officers

engage in a pattern or practice that deprives individuals of their federal constitutional or statutory

rights.

          The United States has a substantial interest in the preservation of its citizens’

fundamental right to the free exercise of religion, expressly protected by the First Amendment.

To that end, the United States regularly files statements of interest and amicus briefs on

important issues of religious liberty in courts at every level, from trial courts to the Supreme

Court of the United States. In addition, the Attorney General has issued comprehensive guidance

interpreting religious-liberty protections available under the United States Constitution and

federal law. Federal Law Protections for Religious Liberty, 82 Fed. Reg. 49668 (Oct. 6, 2017)

(hereinafter “Attorney General Guidelines”). As relevant here, the Attorney General Guidelines

explain that “although government generally may subject religious persons and organizations to



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neutral generally applicable laws,” government cannot “apply such laws in a discriminatory

way” or otherwise “target persons or individuals because of their religion.” Id. at 49669.

          Especially in the midst of the COVID-19 pandemic, the United States has a strong

interest in ensuring the development and maintenance of the best possible public health strategies

to combat the virus and protect the people of the United States from harm. This case raises

issues of national public importance regarding the interplay between the government’s

compelling interest in protecting public health and safety from COVID-19 and citizens’

fundamental right to free exercise of religion.

                                         INTRODUCTION 1

          This suit is brought by Temple Baptist Church, a church in Greenville, and its Pastor,

Arthur Scott (collectively, the “church”) against the City of Greenville and its mayor

(collectively, the “city”) alleging that the city has taken improper action to stop it from holding

drive-in church services in response to the COVID-19 virus. The church broadcasts its service

over a low-power FM station for its parishioners who gather in their cars in the church’s parking

lot. ECF 1, ¶ 24. Attendees are required to remain in their cars at all times with their windows

rolled up. Id. ¶¶ 1, 27. The church does not have a website or the ability to stream services

online, and “many church members do not have social media accounts, the ability to participate

in a Zoom call, or watch services online.” Id. ¶ 23.

          The Mississippi governor has designated churches and other religious entities as an

“essential business or operation” that can operate so long as they adhere to Centers for Disease

Control and Prevention (CDC) and Mississippi Department of Health guidelines. Id. ¶¶ 35-42.

On April 7, 2020, however, the city issued an order titled “Executive Order Regarding Church



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    The United States submits this brief on the basis of the facts alleged in the complaint.
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Services” that barred churches from holding in-person or drive-in services until the Governor’s

shelter in place order is lifted. Id. ¶ 44. On April 8, the city dispatched eight uniformed police

officers to the church. Id. ¶ 52-53. “[N]o one was outside his or her car at any point during the

service, including when the City police arrived” and those “attending the service were sitting

peacefully inside their cars listening to Pastor Scott’s sermon, with their windows rolled up.” Id.

¶54-55. The police then “began knocking on car windows, demanding driver’s licenses, and

writing citations with $500 fines.” Id. ¶ 56.

       The church filed this suit in response, raising claims under, inter alia, the Free Exercise

Clause, and under the Mississippi Religious Freedom Restoration Act (MRFRA), MISS. CODE

ANN. § 11-61-1(5) (2020).

                                          ARGUMENT

I. Constitutional Rights Are Preserved During a Public Health Crisis

      The federal government, the District of Columbia and all 50 states have declared a

state of emergency and have taken unprecedented, but essential, steps to contain the spread

of the novel coronavirus, and consequences of the life-threatening COVID-19 pandemic.

See, e.g., Proclamation on Declaring a National Emergency Concerning the Novel

Coronavirus Disease (COVID-19) Outbreak (March 13, 2020). 2 The President has issued

“Coronavirus Guidelines for America” which, among other measures, urge the public to

“follow the directions of [their] state and local authorities,” to “avoid social gatherings in

groups of more than 10 people” and to “use drive-thru, pickup, or delivery options” instead




2
 Presidential Proclamation, Proclamation on Declaring a National Emergency Concerning the
Novel Coronavirus Disease (COVID-19) Outbreak (Mar. 13, 2020),
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
concerning-novel-coronavirus-disease-covid-19-outbreak/
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of “eating or drinking at bars, restaurants, and food courts.” 3 The CDC has recommended

that individuals “[s]tay home as much as possible” and when in public keep “about 6 feet”

away from others. 4 States and localities have imposed a variety of measures, including

mandatory limitations on gatherings. Observing these guidelines is the best path to swiftly

ending COVID-19’s profound disruptions to our national life and resuming the normal

economic life of our country. Citizens who seek to do otherwise are not merely assuming

risk with respect to themselves, but are exposing others to the same danger. It is for that

reason that state and local governments have acted to protect public health by restricting in-

person assemblies, including religious assemblies.

       There is no pandemic exception, however, to the fundamental liberties the Constitution

safeguards. Indeed, “individual rights secured by the Constitution do not disappear during a

public health crisis.” In re Abbott, --- F.3d ---, 2020 WL 1685929, at *6 (5th Cir. Apr. 7, 2020).

These individual rights, including the protections in the Bill of Rights made applicable to the

states through the Fourteenth Amendment, are always in force and restrain government action.

       At the same time, the Constitution does not hobble government from taking necessary,

temporary measures to meet a genuine emergency. According to the Supreme Court, “in every

well-ordered society charged with the duty of conserving the safety of its members the rights of

the individual in respect of his liberty may at times, under the pressure of great dangers, be

subjected to such restraint, to be enforced by reasonable regulations, as the safety of the general

public may demand.” Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 29 (1905).




3
  Coronavirus Guidelines for America (Mar. 16, 2020), https://www.whitehouse.gov/wp-
content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf
4
  Centers for Disease Control, How to Protect Yourself and Others (April 8, 2020)
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html
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The “settled rule [from Jacobson],” the Fifth Circuit recently explained, “allows the state to

restrict, for example, one’s right to peaceably assemble, to publicly worship, to travel, and even

to leave one’s home.” In re Abbott, 2020 WL 1685929, at *6. And, critically, “[t]he right to

practice religion freely does not include the liberty to expose the community . . . to

communicable disease.” Prince v. Massachusetts, 321 U.S. 158, 166 (1944). Emergency public

health measures such as gathering limitations and social distancing requirements in response to

COVID-19 are evaluated under the Supreme Court’s decision in Jacobson. Courts owe

substantial deference to government actions, particularly when exercised by states and localities

under their police powers during a bona fide emergency.

       Nevertheless, the Supreme Court has instructed courts to intervene:

       [I]f a statute purporting to have been enacted to protect the public health, the public
       morals, or the public safety, has no real or substantial relation to those objects, or is,
       beyond all question, a plain, palpable invasion of rights secured by the fundamental law.

Jacobson, 197 U.S. at 31 (emphasis added). As a result, government can take extraordinary,

temporary measures to protect the public. In Jacobson, the Court explained, by way of example,

that “[a]n American citizen arriving at an American port” who had traveled to a region with

yellow fever “may yet, in some circumstances, be held in quarantine against his will.” Id. at 29.

       If, however, the record establishes “beyond all question, a plain, palpable” violation of

the foregoing principles, then a court must grant relief. See In re Abbott, 2020 WL 1685929, at

*7. Courts reviewing a challenge to a measure responding to the “society-threatening epidemic”

of COVID-19 should be vigilant to protect against clear invasions of constitutional rights while

ensuring they do “not second-guess the wisdom or efficacy of the measures” enacted by the

democratic branches of government, on the advice of public health experts. Id.




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II.      The Free Exercise Clause Prohibits Unequal Treatment of Religious Individuals and
         Organizations

         A. The Free Exercise Clause guarantees to all Americans the “right to believe and

profess whatever religious doctrine [they] desire[].” Empl’t Div. v. Smith, 494 U.S. 872, 877

(1990). It also protects their right to act on these beliefs, through gathering for public worship as

in this case, or through other acts of religious exercise in their daily lives. While the protections

for actions based on one’s religion are not absolute, id. at 878-79, among the most basic

requirements of the Free Exercise Clause are that government may not restrict “acts or

abstentions only when they are engaged in for religious reasons, or only because of the religious

belief that they display,” id. at 877, nor “target the religious for special disabilities based on their

religious status.” Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2019

(2017) (internal quotation marks omitted); see also Attorney General Guidelines, 82 Fed. Reg. at

49672.

         To determine whether a law impermissibly targets religious believers or their practices,

the Supreme Court has directed courts to “survey meticulously” the text and operation of a

challenged law to ensure that it is neutral and of general applicability. Church of the Lukumi

Babalu Aye v. City of Hialeah, 508 U.S. 520, 534 (1993). The Court explained: “The principle

that government, in pursuit of legitimate interests, cannot in a selective manner impose burdens

only on conduct motivated by religious belief is essential to the protection of the rights

guaranteed by the Free Exercise Clause.” Id. at 543; see also Attorney General Guidelines, 82

Fed. Reg. at 49672.




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       Under the Free Exercise Clause, a law or rule, or the application of a law or rule, that is

not both neutral and generally applicable is subject to heightened scrutiny. Church of the Lukumi

Babalu Aye, 508 U.S. at 531.

       A law or rule is not neutral if it singles out particular religious conduct for adverse

treatment; treats the same conduct as lawful when undertaken for secular reasons but unlawful

when undertaken for religious reasons; visits “gratuitous restrictions on religious conduct”; or

“accomplishes . . . a ‘religious gerrymander,’ an impermissible attempt to target [certain

individuals] and their religious practices.” Id. at 533-35, 538 (internal quotation marks omitted);

see also Attorney General Guidelines, 82 Fed. Reg. at 49672. In short, “[t]he Free Exercise

Clause bars even ‘subtle departures from neutrality’ on matters of religion.” Masterpiece

Cakeshop, Ltd. v. Colorado Civil Rights Comm’n, 138 S. Ct. 1719, 1731 (2018) (quoting Church

of the Lukumi Babalu Aye, 508 U.S. at 534).

       A law is not generally applicable if “in a selective manner [it] impose[s] burdens only on

conduct motivated by religious belief,’ including by “fail[ing] to prohibit nonreligious conduct

that endangers [its] interests in a similar or greater degree than . . . does the prohibited conduct.”

Church of the Lukumi Babalu Aye, 508 U.S. at 534; see also Attorney General Guidelines, 82

Fed. Reg. at 49672.

       Accordingly, the Supreme Court’s free exercise decisions instruct this Court to “survey

meticulously,” id. at 534, the risks and character of the various essential services that the city

continues to permit. The Court must determine whether the city’s distinctions between

nonreligious essential services and religious essential services are truly neutral and generally

applicable. In other words, the Court must ensure that like things are treated as like, and that

religious organizations are not singled out for unequal treatment. See id. at 533-34.



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       If the Court determines that the city’s prohibition on drive-in church services is in fact

not the result of the application of a generally applicable and neutral law or rule, then it must

review the city’s justifications and determine if the city has demonstrated a compelling

governmental interest, pursued through the least restrictive means. See id. at 546.

       The Court must be appropriately deferential to the expertise of public health officials in

evaluating potential distinctions between a drive-in church and other permitted essential

activities where people gather in cars, parking lots, or interact in some way in significant

numbers. See Jacobson, 197 U.S. at 31; In re Abbott, 2020 WL 1685929, at *7. But such

deference will not justify action that is “beyond all question, a plain, palpable” violation of free

exercise principles. Jacobson, 197 U.S. at 31; see also In re Abbott, 2020 WL 1685929, at *7.

Thus, if the Court determines that the city’s prohibition is not in fact the result of a neutral and

generally applicable law or rule, then the Court may sustain it only if the city establishes that its

action is the least restrictive means of achieving a compelling governmental interest. Church of

the Lukumi Babalu Aye, 508 U.S. at 546.

       B. The allegations in the complaint strongly suggest that the city’s prohibition of drive-in

church services, despite the inclusion of measures to reduce risk such as requiring people to

remain in their cars, are neither neutral nor generally applicable.

       Take neutrality first. According to the city, “ALL businesses and industries deemed

essential by state and federal orders” may continue operations, ECF 1, ¶ 45, and the state has

designated churches such as the one here as essential. Nevertheless, the city barred the church

from holding services even if the church adheres to CDC and Mississippi COVID-19 guidelines

for essential operations. See id. ¶¶ 33, 35. These allegations suggest that the city singled out




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  churches for distinctive treatment not imposed on other entities the state has designated as

  essential services.

         In addition to appearing non-neutral, the church’s allegations also tend to show that the

  city’s emergency actions are not applied in a generally applicable manner. The church alleges

  facts tending to show that conduct is being permitted for various secular reasons when equivalent

  conduct is being forbidden to churches holding drive-in services. Notably, the city appears to

  permit citizens to sit in a “car at a drive-in restaurant with [their] windows rolled down,” but not

  “at a drive-in church service with [their] windows rolled up.” Id. ¶ 51. The church thus alleges

  that the city has “fail[ed] to prohibit nonreligious conduct that endangers [its] interests in a

  similar or greater degree,” Church of the Lukumi Babalu Aye, 508 U.S. at 543, than drive-in

  services like the church’s here.

III.     The Compelling Interest/Least Restrictive Means Test Is a Searching Inquiry

         The Court should apply heightened scrutiny under the Free Exercise Clause if it

  determines, after applying appropriate deference to local officials, that the church has been

  treated by the city in a non-neutral and non-generally applicable manner. The same analysis

  would apply if the Court found that the church’s religious exercise has been burdened under the

  Mississippi Religious Freedom Restoration Act, MISS. CODE ANN. § 11-61-1(5)(b) (“Mississippi

  RFRA”). The federal Religious Freedom Restoration Act (RFRA), 42 U.S.C. § 2000bb, which

  applies to federal action (but not state and local government action) “prohibits the Government

  from substantially burdening a person’s exercise of religion . . . unless the Government

  demonstrates that application of the burden to the person—(1) is in furtherance of a compelling

  governmental interest; and (2) is the least restrictive means of furthering that compelling

  governmental interest.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 695 (2014)


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(citations and internal marks omitted). This is true “even if the burden results from a rule of

general applicability,” O Centro Espirita Beneficente Uniao do Vegetal v. Gonzales, 546 U.S.

418, 424 (2006). Mississippi’s RFRA similarly states that the government “may substantially

burden a person’s exercise of religion only if it demonstrates that application of the burden to the

person: (i) is in furtherance of a compelling governmental interest; and (ii) is the least restrictive

means of furthering that compelling governmental interest.” MISS. CODE ANN. § 11-61-1(5)(b).

This is a difficult standard to meet.

       As a general matter, prohibiting large gatherings to prevent the spread of COVID-19

undeniably advances a compelling government interest. The Fifth Circuit recently recognized

“the escalating spread of COVID-19, and the state’s critical interest in protecting the public

health.” In re Abbott, 2020 WL 1685929, at *1. However, that is not the end of the inquiry. In

O Centro, the Supreme Court considered under the federal RFRA whether banning a religious

group from using a particular controlled substance in its worship service was supported by the

compelling interest of enforcing the drug laws. See 546 U.S. at 428-39. The Court recognized

that while enforcing the drug laws constitutes a compelling interest as a general matter, the

government had to show more—a compelling interest in applying those laws to the small

religious group that sought to use a drug in religious ceremonies that was not a sought-after

recreational drug and thus not prone to diversion. Drawing on its Free Exercise Clause

precedents, the Supreme Court held that courts must look “beyond broadly formulated interests

justifying the general applicability of government mandates and scrutinize[ ] the asserted harm of

granting specific exemptions to particular religious claimants.” Id. at 431.

       The Supreme Court has noted that “‘context matters’ in applying the compelling interest

test, and has emphasized that strict scrutiny’s fundamental purpose is to take ‘relevant



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differences’ into account.” Id. (citations omitted). For example, in Cutter v. Wilkinson, the

Supreme Court applied the compelling interest standard in a manner that directed that prison

administrators be afforded deference on what constitutes safety and good order. 544 U.S. 709,

723 (2005). Similarly, here, a court must apply this standard in the context of a pandemic that

officials have predicted—if unchecked—could claim a significant number of American lives.

On the other hand, the requirement set forth in O Centro that a compelling interest must be

evaluated in context rather than by reference to a broad general principle such as health or safety,

and the related requirement that the government must use the least restrictive means to achieve

its interest, see Hobby Lobby, 573 U.S. at 728 (the “least-restrictive-means standard is

exceptionally demanding”), emphasize that a court must engage in a searching inquiry.

       The question for this Court, then, is whether the city’s alleged actions here—namely,

“reclassif[ying] churches as ‘non-essential’” businesses and operations so as to prevent this

church from engaging in its “‘drive-in’ services [that] involve no in-person contact,” ECF 1,

¶¶ 24, 45—furthers a compelling interest, and whether there is no less restrictive measure the

city could use to achieve that interest while allowing the church to hold its services. If in this

fact-intensive and context-laden analysis, the court determines that there are no “relevant

differences,” O Centro, 546 U.S. at 420, with regard to the efficacy in containing COVID-19

between what the church proposed and what the city would require, then the city’s measure must

yield to the church’s sincerely held religious exercise.

       The facts alleged in the church’s complaint strongly suggest that there are no such

differences and that the city should allow the church to hold its drive-in services. Under strict

scrutiny, the city has the burden to demonstrate that prohibiting the small church here from

holding the drive-in services at issue here—services where attendees are required to remain in



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their cars in the church parking lot at all times with their windows rolled up and spaced

consistent with CDC guidelines—is the least restrictive means of furthering a compelling

interest. As of now, it seems unlikely that the city will be able to carry that burden. Again,

according to the complaint, the church “does not allow those attending its ‘drive-in’ services’ to

leave their cars for any reason,” ECF 1, ¶ 5, and requires them to space their cars “beyond CDC

guidelines,” with their “windows up,” id. ¶¶ 1, 24. Based on those allegations, it is unclear why

prohibiting these services is the least restrictive means of protecting public health, especially if,

as alleged in the complaint, the city allows other conduct that would appear to pose an equal—if

not greater—risks, see id. ¶ 51.

                                          CONCLUSION

       The United States respectfully requests the Court to consider the arguments set forth

above in evaluating this case. The facts alleged in the complaint strongly suggest that the city’s

actions target religious conduct. If proven, these facts establish a free exercise violation unless

the city demonstrates that its actions are neutral and apply generally to nonreligious and religious

institutions or satisfies the demanding strict scrutiny standard.




Dated: April 14, 2020




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                                         Respectfully submitted,



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                                   CERTIFICATE OF SERVICE
      I HEREBY CERTIFY, that this 14th day of April 2020, the foregoing United States’
Statement of Interest was electronically filed with the Clerk of Court using the CM-ECF system,
which will send a notice of electronic filing to all counsel of record.


                                                 /s/ William C. Lamar ___________
                                                 WILLIAM C. LAMAR




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